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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
___________________________________
                                    )
IN RE: LION AIR FLIGHT JT           )
610 CRASH                           )  Lead Case No. 18 CV 7686
                                    )  Honorable Thomas M. Durkin
___________________________________ )

                                             ORDER

       On December 14, 2020, the Court entered a civil contempt against the law firm of

GIRARDI KEESE ("GK") and THOMAS GIRARDI and froze the assets of GK and THOMAS

GIRARDI.

       During a December 16, 2020 telephone hearing, the Court was informed that several

involuntary bankruptcy petitions were being prepared in the Central District of California and

would likely be filed within 48 hours. Upon discussion, the parties agreed with the Court that a

bankruptcy trustee in the Central District of California would be best suited to preserve assets

and deal with competing claims.

       IT IS HEREBY ORDERED THAT:

   1. A judgment of civil contempt is entered against GK and THOMAS GIRARDI.

   2. All assets of GK and THOMAS GIRARDI (collectively, the "Girardi Assets") are frozen

       until further order of this Court. The Trustee can apply to modify this Order.

   3. Until a Trustee is appointed, the Girardi Assets shall not be used to pay THOMAS

       GIRARDI's living expenses, and then only upon application to and approval by the

       Trustee.

   4. Until a Trustee is appointed, the Girardi Assets shall not be used to pay attorneys' fees,

       and then only upon application to and approval by the Trustee.
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5. This Order memorializes the oral ruling made on December 14, 2020 and which became

   effective on that date.

6. If there is a delay in appointment of a Trustee, any request for relief to allow for payment

   of reasonable and necessary living expenses of THOMAS GIRARDI should be addressed

   to this Court.

7. This Order should not be construed to prevent GK from fulfilling its court obligations to

   existing clients. However, any receipt of fees or settlement funds shall become part of the

   asset freeze described in paragraph 2, absent court approval.



   IT IS SO ORDERED.



   Dated: December 18, 2020                      ____________________________________
                                                 Thomas M. Durkin
                                                 United States District Judge
